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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


United States of America,

                       Plaintiff,       Case No. 17-cr-20483

v.                                      Judith E. Levy
                                        United States District Judge
Lawrence Michael Wynn,
                                        Mag. Judge Mona K. Majzoub
                       Defendant.

________________________________/

     ORDER REGARDING DEFENDANT’S NON-DISPOSITIVE
     MOTIONS [29], [30], [31], [32], [39], [40], [41], [44], [48] AND
           REQUEST FOR JUDICIAL NOTICE [42]

       On Wednesday March 21, 2018, the Court held a hearing on

defendant’s non-dispositive motions and defendants request for judicial

notice in the above-captioned matter. (Dkt. 29, Dkt. 30, Dkt. 31, Dkt.

32, Dkt. 39, Dkt. 40, Dkt. 41, Dkt. 42, Dkt. 44, Dkt. 48.) The Court

reviewed the relevant exhibits and case law, as well as briefing and oral

argument from the government and defendant.

       As a preliminary matter, defendant stated on the record that he

was withdrawing his motion for specific discovery (Dkt. 29) and his

motion for pretrial disclosure of all evidence which the government
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intends to offer pursuant to Rule 404(b). (Dkt. 31.)                Accordingly,

defendant’s withdrawn motions [29] and [31] are TERMINATED.

Additionally, for the reasons set forth on the record,

     Defendant’s motion to strike indictment [30] is DENIED AS

MOOT.

     Defendant’s     motion    for     severance    [32]     and     defendant’s

supplemental motion for severance [41] are DENIED.

     Defendant’s motion to suppress post-arrest statement [39] is

DENIED.

     Defendant’s second motion for specific discovery [40] is DENIED

IN PART and HELD IN ABEYANCE IN PART. Defendant’s motion is

denied with respect to his request for an order requiring the

government to produce Officers Nieman and Hopp’s personal notebook

entries of the incident, PCR, a 911 recorded tape or video broadcast of

the incident, vehicle video, and further identification of the red Ford

Escape. Defendant’s motion with respect to body camera footage is held

in abeyance awaiting the government’s submission of a declaration

regarding whether Officers Nieman and Hopp were wearing body

cameras while patrolling on June 12, 2017.


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     Defendant’s request for judicial notice [42] is DENIED.

     Defendant’s motion in limine [44] is DENIED WITHOUT

PREJUDICE.

     Defendant’s motion for government agents and law enforcement

officers to disclose and retain rough notes generated at the debriefing

held on August 31, 2017 [48] is DENIED WITHOUT PREJUDICE.

     IT IS SO ORDERED.

Dated: March 23, 2018                      s/Judith E. Levy
Ann Arbor, Michigan                        JUDITH E. LEVY
                                           United States District Judge


                    CERTIFICATE OF SERVICE
      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on March 23, 2018.
                                           s/Shawna Burns
                                           SHAWNA BURNS
                                           Case Manager




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